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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

URBAN AFFAIRS COALITION

                      Plaintiff,                Civil Action No. 2:25-cv-02261

              v.

KAREN NICHOLSON

                      Defendant.


                                   NOTICE OF APPEARANCE

       Please enter my appearance on behalf of Plaintiff Urban Affairs Coalition in the above-

captioned matter.

                                               Respectfully submitted,

Dated: June 2, 2025


                                               s/ Tanner McCarron
                                               Tanner McCarron, Bar No. 327855
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                                               Attorney for Plaintiff
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of June 2025, the foregoing document was filed using

the Eastern District of Pennsylvania’s ECF system, through which this document is available for

viewing and downloading, causing a notice of electronic filing to be served upon all counsel of

record.

                                                      s/ Tanner McCarron
                                                      Tanner McCarron
